    Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 1 of 14. PageID #: 6300




                                     UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION

       UNITED STATES OF AMERICA,                         )
                                                         )     CASE NO. 1:10CR405
                       Plaintiff,                        )
                                                         )
               v.                                        )     JUDGE JOHN R. ADAMS
                                                         )
       CHRISTOPHER UGOCHUKWU,                            )     ORDER
                                                         )
                       Defendant.                        )
                                                         )


       Pending before the Court is Defendant Christopher Ugochukwu’s motion for a new trial.

The motion is DENIED.

       Defendant’s jury trial was conducted on April 11, 2011 through April 15, 2011. On April

15, 2011, the jury convicted Defendant on Counts 1, 13, and 24 as charged in the indictment. On

August 19, 2011, Defendant was sentenced to 320 months incarceration. On August 21, 2011,

Defendant moved for a new trial. The Government filed its opposition on October 18, 2011.

After granting Defendant a thirty-day extension to file a reply, no reply was filed. The Court now

resolves the motion.

       At all relevant times, Rule 33 specified that “any motion for a new trial grounded on newly

discovered evidence must be filed within 3 years after the verdict or finding of guilty,” and that

“[a]ny motion for a new trial grounded on any reason other than newly discovered evidence must

be filed within 7 days after the verdict or finding of guilty.” Fed.R.Crim.P. 33(b).

       However, Rule 33 must be read in conjunction with Federal Rule of Criminal
       Procedure 45, which provides that “[w]hen an act must or may be done within a
       specified period, the court ... may extend the time ... on a party’s motion made ...
       after the time expires if the party failed to act because of excusable neglect.”
       Fed.R.Crim.P. 45(b). See Advisory Comm. Notes to 2005 Amendments of Rule 33
    Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 2 of 14. PageID #: 6301




       (“[U]nder Rule 45(b)(1)(B), if for some reason the defendant fails to file the
       underlying motion for new trial within the specified time, the court may
       nonetheless consider that untimely underlying motion if the court determines that
       the failure to file it on time was the result of excusable neglect.”); United States v.
       Robinson, 430 F.3d 537, 541 (2d Cir. 2005) (“The time limitations specified in
       Rule 33 are read in conjunction with Rule 45, which establishes how to compute
       and extend time.”).

United States v. Munoz, 605 F.3d 359, 367 (6th Cir. 2010).

       There is no dispute that a large portion of Defendant’s motion is untimely on its face.

Defendant, however, has argued that he has met his burden to show excusable neglect for the

untimely portion of the motion. In resolving that issue, the Court is guided by the factors

discussed in Pioneer Investment Services Co. v. Brunswick Associates, 507 U.S. 380 (1993), and

applied to Rule 33 by Munoz. Those factors include:

       (1) the danger of prejudice to the nonmoving party, (2) the length of the delay and
       its potential impact on judicial proceedings, (3) the reason for the delay, (4)
       whether the delay was within the reasonable control of the moving party, and (5)
       whether the late-filing party acted in good faith.

Munoz, 605 F.3d at 368 (citing Pioneer, 507 U.S. at 395).

       The Court agrees with the arguments set forth in the Government’s opposition to the

motion for new trial. Defendant has fallen well short of his burden to demonstrate excusable

neglect. The motion was filed nearly five months late – and the record reflects that Defendant

actively sought out numerous new counsel before finally finding counsel that would file the instant

motion.   No legitimate reason was offered for the delay.          The delay was entirely within

Defendant’s control, and there is nothing to suggest that Defendant was acting in good faith.

Instead, as will be demonstrated throughout this order, it is apparent that Defendant had to spend

five months in order to find counsel that would file this motion as the motion itself borders on

frivolous. Accordingly, those portions of the motion for new trial that are not premised upon
    Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 3 of 14. PageID #: 6302




newly discovered evidence are untimely. However, out of an abundance of caution, the Court

will still address those arguments on the merits.

   I.      GENERAL STANDARD

        Rule 33 provides that “[u]pon the defendant’s motion, [a district] court may vacate any

judgment and grant a new trial if the interest of justice so requires.” Fed.R.Crim.P. 33(a). The rule

“does not define ‘interest[ ] of justice’ and the courts have had little success in trying to generalize

its meaning.” United States v. Kuzniar, 881 F.2d 466, 470 (7th Cir. 1989). However, “it is widely

agreed that Rule 33’s “interest of justice” standard allows the grant of a new trial where substantial

legal error has occurred.” Munoz, 605 F.3d at 373.

        Before undertaking to review the individual errors alleged by Defendant, the Court must

note that the sheer number of errors alleged is breathtaking. In claiming ineffective assistance of

counsel, Defendant asserts dozens of alleged deficiencies by his counsel, rarely offering any

argument in support of the claim that the acts described were in fact deficient. Accordingly, to the

extent that a specific error is not addressed herein, that error is found to lack merit. The lack of

discussion of such an error is the result of either 1) a complete lack of argument from Defendant, 2)

a complete lack of factual support for such an argument, or 3) the unorganized and

difficult-to-follow motion pending before the Court.

   1. Constructive Amendment of the Indictment

        Defendant first contends that a constructive amendment of the indictment occurred with

respect to Count 24 and that he is factually innocent of the actual count alleged in the indictment.

The Court finds no merit in this contention.

        A constructive amendment occurs

        when the terms of the indictment are in effect altered by the presentation of
    Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 4 of 14. PageID #: 6303




       evidence and jury instructions which modify essential elements of the offense
       charged such that there is a substantial likelihood that the defendant may have been
       convicted of an offense other than the one charged in the indictment.

United States v. Siemaszko, 612 F.3d 450, 469–70 (6th Cir. 2010) (internal quotation marks

omitted). Defendant “bears the burden of establishing that a constructive amendment has

occurred.” See id. at 469. “[C]onstructive amendments are considered per se prejudicial and are

reversible error.” United States v. Budd, 496 F.3d 517, 521 (6th Cir. 2007).

       Defendant’s sole argument here rests upon a faulty factual premise – namely that the count

does not include “on or about” language. In pertinent part, Count 24 reads as follows: “ On or

about the dates and times listed below” the defendants used the telephone to facilitate a felony.

Count 24 then goes on to name Defendant and a co-defendant, Richard Lanier, and states the date

of the call to be May 12, 2010, and the time of the call to be 9:47 p.m. It is undisputed that no 9:47

p.m. call exists. Instead, a 9:43 a.m. call exists on May 12, 2010. The Government introduced

this call into evidence and properly identified the time as 9:43 a.m. Given the “on or about”

language in the indictment, Defendant cannot maintain any argument that he is factually innocent

of Count 24. Moreover, as the Government identified the specific tape that supported Count 24

before trial to defense counsel, there is simply no argument that Defendant was prejudiced by the

typographical error in the indictment.

       The jury was properly charged with the “on or about” language, and the evidence amply

supports that “on or about” May 12, 2012, at 9:47 p.m., Defendant committed the crime alleged.

The fact that the actual crime occurred roughly 12 hours earlier did not result in a constructive

amendment. This alleged error lacks merit.

   2. Dual Role

       Defendant next contends that the Court erred by not giving a dual role instruction to the
    Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 5 of 14. PageID #: 6304




jury regarding Detective Clark’s testimony. However, the Court specifically instructed the jury

about witnesses giving both fact and opinion testimony, and directly referenced Detective Clark

during those instructions. Doc. 631 at 848-49. Thus, Defendant’s claim of error is belied by the

actual record in this matter.

   3. Detective Clark as an Expert

       Defendant next asserts that this Court erred by allowing Detective Clark to testify as an

expert. Fed. R. Evid. 702 provides as follows:

       A witness who is qualified as an expert by knowledge, skill, experience, training, or
       education may testify in the form of an opinion or otherwise if:

       (a) the expert’s scientific, technical, or other specialized knowledge will help the
       trier of fact to understand the evidence or to determine a fact in issue;

       (b) the testimony is based on sufficient facts or data;

       (c) the testimony is the product of reliable principles and methods; and

       (d) the expert has reliably applied the principles and methods to the facts of the
       case.

Defendant contends that Detective Clark “put his own spin” on record conversations, thereby

overstepping his bounds as an expert. Defendant does not take the time to cite to any specific

testimony offered by Clark that resulted in prejudicial error. Instead, he offers a conclusory

statement that the testimony was not of the category typically allowed by courts.               The

Government’s response, at pages 28 and 29, has more than adequately detailed the subject of

Clark’s testimony that is well within the bounds of proper expert testimony. Moreover, the

Government has properly highlighted that Clark’s specialized knowledge has never been

challenged by Defendant – not at trial, nor in the current motion. In short, this alleged error lacks

any specific argument and is fully rebutted by the trial record.
     Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 6 of 14. PageID #: 6305




    4. Drug Ledgers

        Defendant next asserts that this Court erred in admitting the drug ledgers.                    Again,

Defendant’s argument simply ignores the trial testimony in this matter. Defendant primarily

contends that it was error to introduce the drug ledgers because no witness “adopted the ledgers as

their own.” In so doing, Defendant ignores that the ledgers were taken from locations owned and

controlled by co-defendant Lanier and that Lanier openly testified about his role in the conspiracy.

The record is clear that the ledgers were highly probative of the conspiracy and they were properly

admitted. 1

    5. Count 13

        In this alleged error, it is unclear whether Defendant is claiming insufficiency of the

evidence or raising a manifest weight challenge to the evidence. Defendant, however, contends

that the Government failed to prove knowing possession and intent to distribute. It is difficult for

the Court to conceive how this argument could be raised in the face of the evidence at trial.

Roughly two kilograms of heroin were found in Defendant’s apartment. A kilo press, mannite

bars, blenders, a food sealer, and hundreds of international money transfer receipts were found in

that apartment. Moreover, a photograph of Defendant with the kilo press was presented to the

jury. There was more than sufficient evidence to prove Count 13 beyond a reasonable doubt.

    6. Buyer-Seller Relationship

        Defendant next argues that no conspiracy was established, but instead only evidence of a

buyer-seller relationship was introduced. As with nearly every argument contained in this

motion, Defendant’s argument is wholly unsupported by the actual record in this matter.

Evidence of 1) sales of large amounts of heroin, 2) prolonged cooperation between multiple

1 The Court would note that no objection was made to the introduction of these ledgers during trial.
    Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 7 of 14. PageID #: 6306




co-defendants, 3) mutual trust between these co-defendants, and 4) sales on a consignment basis

were all presented to the jury. Moreover, Defendant possessed nearly two kilograms of heroin –

not an amount one could reasonably argue was for personal use.                Thus, the record

overwhelmingly demonstrates a conspiracy, and contains no evidence of a buyer-seller

relationship.

   7. Ineffective assistance of counsel

       To say that Defendant has utilized the kitchen sink defense in this portion of his motion

would be a dramatic understatement. Defendant appears to claim error in every act taken by his

counsel and in every aspect in which he allegedly failed to act. The Court now reviews those

contentions.

       In Strickland v. Washington, 466 U.S. 668, 687, 4 (1984), the Supreme Court established

the requirements for an ineffective assistance of counsel claim: Defendant must demonstrate both

(1) deficient performance by counsel and (2) prejudice resulting from the inadequate performance.

Strickland v. Washington, 466 U.S. 668, 687 (1984). To establish deficient performance by

counsel, Defendant must show his “counsel made errors so serious that counsel was not

functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Id. In attempting

to establish his attorney’s deficient performance, Defendant “must show that counsel’s

representation fell below an objective standard of reasonableness.” Id. at 688–687. A reviewing

court must ensure “every effort is made to eliminate the distorting effects of hindsight, to

reconstruct the circumstances of counsel’s challenged conduct, and to evaluate the conduct from

counsel's perspective at the time.” Id. at 689. The reviewing court must also “indulge a strong

presumption that counsel’s conduct falls within a wide range of reasonable professional

assistance.” Id.
    Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 8 of 14. PageID #: 6307




       However, an error by counsel, even if professionally unreasonable, does not warrant

setting aside judgment in a criminal proceeding if the error had no effect on the judgment.

Strickland, 466 U.S. at 691. Defendant must also satisfy the second prong by proving the deficient

performance prejudiced the defense. This requires showing counsel’s errors were so serious as to

deprive Defendant of a fair trial with a reliable result. Id. at 687. When a defendant challenges his

sentence on the grounds of ineffective assistance of counsel, a court asks whether there is a

reasonable probability, absent the errors, that the jury would have reached a different verdict. See

Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2003). “A reasonable probability is a

probability sufficient to undermine confidence in the outcome.” Id. (quoting Strickland, 466 U.S.

at 694).

       Defendant claims the following errors in his motion support a claim under Strickland:

       From this, we go to the voluminous errors committed by Mr. Goldberg:

       • Telling Defendant he only faced 20 years in jail, when in fact, he could get life in
       prison. (See, Ex. B, Letter from Goldberg);

       • Failing to request a cautionary instruction with regard to the dual role testimony
       of Detective Clark who acted as Expert and fact witness;

       • Failing to request an “informant Instruction” to the jury, (See U.S. v. Luck, 611
       F.3d 183 (4th Cir. 2010));

       • Failing to object to Detective Clark testifying first, listening in court to all other
       witnesses testify, then taking the stand for a second time and vouching for the
       testimony;

       • Failing to allow Mr. Ugochukwu to testify on his own behalf after he requested to
       do so;

       • Failing to object when the Government could not produce the phone conversation
       that was the subject of Count 24 for the jury; and request that all transcribed
       excerpts of said call be removed from the jury room, as this put an emphasis on
       Detective Clark’s interpretations of said call and the order he placed them in;
    Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 9 of 14. PageID #: 6308




       • Failing to prepare a defense to the specific charges, when one was available;

       • Failing to object to the admittance of evidence that was found at every residence
       other than Defendant’s;

       • Failing to request a multiple-conspiracy jury instruction;

       • Failing to utilizes a buyer/seller relationship as a defense or requesting a jury
       instruction based on such a defense;

       • Failing to utilize preemptory challenges of relatives of police who presided on
       Defendant’s jury;

       • Failing to contact Ben Obifera Ifeka after he called willing to testify or any other
       witnesses on behalf of Defendant;

       • Failing to object to the CD provided to the jury that did not contain the May 12,
       2010 call (See Exhibit C); and

       • Failing to properly address the corporations of Defendant’s and the government’s
       argument that they were straw companies. Counsel never provided a defense to
       this allegation.

       • Failure to address irregularities at trial properly.

       • Inadequate examination of character witnesses.

       • Failure to adequately cross-examine Richard Lanier and Bryant Johnson.

       • Counsel failed to establish any defense whatsoever.

Doc. 637 at 32-34.

       While typing up this laundry list of deficiencies, Defendant failed to actually argue the

merits of any of the above alleged deficiencies. In sum total, Defendant claims he offered up

contact information for family members that would have assisted in his defense. He does not

allege how these family members would have assisted, the testimony they would have offered, nor

how any of this information could have conceivably altered the verdict in this matter. Moreover,

his claims are directly rebutted by the affidavit submitted by his trial counsel.
   Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 10 of 14. PageID #: 6309




       In that vein, the Government’s response has given a detailed opposition to each of the

bullet points detailed above. As Defendant did not undertake the task to analyze and argue each

of these bullet points, he has entirely failed to carry his burden to demonstrate error. Moreover,

the Government’s response amply demonstrates that Defendant has failed to show both deficient

performance and prejudice stemming from the performance. His ineffective assistance of counsel

claims fail as a matter of law.

   8. Use of False Testimony

       Defendant next asserts that the Government knowingly used false testimony at his trial.

In support, Defendant relies upon affidavits from two other inmates, Demetrius Hill and Anthony

Jerdine, and a family friend, Benn Obiora Ifeka. Hill’s affidavit claims that on June 13, 2011, he

spoke to co-defendant Lanier and Lanier asked him what would happen if he “changed his

testimony and told the truth to help someone out.” Hill claims that Lanier went on to state that he

lied about Defendant’s role in order to “save my partner’s connect.” Jerdine claims that he had a

conversation with Lanier on November 22, 2010. Jerdine claims that Lanier specifically asked

for assistance in fabricating evidence against Defendant. Finally, Ifeka claims to have been

present when co-defendant Johnson offered Defendant a room in an apartment Johnson owned.

Ifeka claims that Johnson told Defendant he would be allowed solely in one room, that all his other

apartments were occupied, and that Defendant should keep a padlock on his door to secure his

personal belongings. Defendant claims that these three affidavits constitute newly discovered

evidence and demonstrate that the Government relied upon false testimony.      The Court finds no

merit in these arguments.

       “In making a motion for a new trial based on newly discovered evidence the defendant

must show that the evidence (1) was discovered only after trial, (2) could not have been discovered
    Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 11 of 14. PageID #: 6310




earlier with due diligence, (3) is material and not merely cumulative or impeaching, and (4) would

likely produce an acquittal if the case were retried.” United States v. Barlow, 693 F.2d 954, 966

(6th Cir. 1982). It is questionable whether the first two Barlow prongs are satisfied by any of the

three affidavits. However, overlooking those prongs, the affidavits quite clearly do not satisfy the

third and fourth prongs.

         First and foremost, the three submitted affidavits are entirely lacking in credibility. For

example, Hill claims that Lanier confided in him that he had given false testimony to protect his

partner, Johnson. However, Hill claims that this conversation in June of 2011 – months after

Johnson had cooperated with the Government against Lanier. It strains credibility to believe that

Johnson cooperated immediately, that the Government made his plea agreement publicly available

to encourage Lanier to cooperate, and that Lanier then told Hill he fabricated evidence to somehow

protect Johnson. Moreover, the Government presented evidence in its response that Lanier was in

protective custody on the date this interaction occurred, while Hill was not. 2 Thus, again, it is

difficult to imagine how Hill had a thirty to forty minute conversation, about perjury no less,

without any interference from the guards assigned to Lanier.

         Similarly, Jerdine’s affidavit claims that Lanier told him that he was cooperating with the

Government and needed to fabricate “hard” evidence against Defendant. Again, however, this

conversation allegedly occurred in November of 2010. The record, however, is clear that Lanier

never cooperated with the Government until February of 2011.

         Furthermore, both affidavits from the inmates consist of nothing more than impeachment

material. Both claim that Lanier indicated to them that he was dishonest or seeking to fabricate

2 Hill’s affidavit acknowledges that Lanier was in the special housing unit at the time of their interaction, but fails to
explain how it is that the two of them were left to freely converse for 30 minutes while Hill allegedly waited to make a
phone call.
   Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 12 of 14. PageID #: 6311




evidence. Even with a retrial, the jury would be left to view these competing stories. However,

they would also be left with the mountain of physical evidence of the drug conspiracy that was

found in Defendant’s apartment.

       From the Court’s review, it certainly appears that Ifeka’s affidavit was designed to combat

that issue. Ifeka claims to have been present when Defendant arranged to rent a room from

Johnson. Ifeka claims to have been visiting the U.S. from Nigeria on the precise date that

Defendant sought out a room.        Ifeka also claims to distinctly remember Johnson limiting

Defendant to use of solely one room in the house and Johnson telling Defendant that he used the

rest of the home to entertain women. Johnson also alleged told Defendant that all his other

apartments were rented.

       Ifeka’s affidavit is strikingly similar in content to the defense raised at trial by Defendant.

Despite all of the physical evidence presented at trial, including Defendant in a photo in the

apartment with the kilo press, Defendant insisted through argument that he had no knowledge of

the drugs in the apartment. Ifeka’s affidavit would seem to support the contention that Defendant

was isolated to one room in the apartment.          However, again, the facts presented at trial

demonstrate the complete lack of credibility within the affidavit. First, the apartment at issue was

one of many owned and rented by Johnson. There is no factual support for the statement that no

other apartments were available for rent. It defies logic that Johnson would rent out a room to an

unknown person in an apartment that he was using to conduct a large scale drug conspiracy.

Moreover, it similarly defies logic that Johnson would use this dilapidated apartment to “entertain

women” when he owned a million-dollar home not far away. Additionally, the lease agreement

between Johnson and Defendant was for $600 per month and never hinted at this “one room”

arrangement. Indeed, it would have been a grossly overpriced room for that price. Finally, when
   Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 13 of 14. PageID #: 6312




the apartment was searched, the sole identifying information in the apartment belonged to

Defendant. There were no documents containing Johnson’s identifying information within the

apartment.

       Accordingly, at best, the three affidavits above could be utilized as impeaching materials.

Having presided over the trial in this matter, this additional information would have no likelihood

of altering the guilty verdicts reached by the jury in this matter. Accordingly, they do not provide

a basis for ordering a new trial.

       Finally, Defendant attempts to chart out what he believes to be “undeniably false”

testimony given by co-defendant Johnson. The chart has two columns labeled “Bryant Johnson’s

statements” and “Why Johnson’s witness testimony is false.” However, the second column does

not, in any manner, demonstrate false testimony. For example, Johnson testified that his drug

proceeds were located inside a tool shed. Defendant claims that this was demonstrably false

because Johnson owned the apartment building and consented to a search of the tool shed. It is

entirely unclear how Johnson’s ownership or consent to search somehow made his statement false.

In fact, the recovery of drug proceeds from the tool shed only served to demonstrate that Johnson’s

testimony was truthful. Later, Johnson testified that he sold to four customers. Defendant

claims this was demonstrably false because none of the customers were arrested. A vast majority

of the chart continues in this pattern – matching up to only-somewhat-related pieces of testimony

and making unsupported claims that the latter proves the false nature of the first statement. In

short, like the remainder of the motion, the charts are short on substance and do not provide any

meaningful argument in support of a new trial.

   9. Summary

       The Court has attempted to address individually each of the arguments raised by Defendant
   Case: 1:10-cr-00405-JRA Doc #: 769 Filed: 12/28/12 14 of 14. PageID #: 6313




in his motion. To the extent that any argument appears to have gone without discussion, the Court

formally rejects those arguments.     There was overwhelming evidence of Defendant’s guilt

introduced at trial and nothing presented in the pending motion supports a new trial in this matter.

       The motion for new trial is DENIED.

       IT IS SO ORDERED.



December 28, 2012_______                             /s/ John R. Adams_____________________
Dated                                                JUDGE JOHN R. ADAMS
                                                     United States District Judge
